807 F.2d 175Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Alvin Leon RUFFIN, Plaintiff-Appellant,v.PAROLE COMMISSION OF VIRGINIA;  B. Norris Vassar,Defendants-Appellees,
    No. 86-7231.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 31, 1986.Decided Dec. 5, 1986.
    
      Before WIDENER, HALL and ERVIN, Circuit Judges.
      Alvin Leon Ruffin, appellant pro se.
      Michael A. Likavec, Office of the Attorney General of Virginia, for appellees.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that an appeal from its order refusing habeas corpus relief would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Ruffin v. Parole Commission of Virginia, C/A No. 85-0934-R (E.D.Va., August 6, 1986.)
    
    
      2
      DISMISSED.
    
    